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            10       Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            11

            12                                     UNITED STATES DISTRICT COURT

            13                                 NORTHERN DISTRICT OF CALIFORNIA

            14

            15       WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            16       corporation,                                  NOTICE OF APPEARANCE OF MICHAEL
                                                                   G. RHODES AS COUNSEL FOR PLAINTIFFS
            17                                                     WHATSAPP INC. AND FACEBOOK, INC.
                                     Plaintiffs,
            18
                           v.
            19
                     NSO GROUP TECHNOLOGIES LIMITED
            20       and Q CYBER TECHNOLOGIES LIMITED,

            21                       Defendants.

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  COOLEY LLP
                                                                         NOTICE OF APPEARANCE OF MICHAEL G. RHODES
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                               1                         CASE NO. 3:19-CV-07123-JSC
                            Case 4:19-cv-07123-PJH Document 30 Filed 03/12/20 Page 2 of 2



              1                  TO THE CLERK, ALL PARTIES, AND ALL COUNSEL OF RECORD:

              2                  Plaintiffs WhatsApp Inc. and Facebook, Inc. notify the Court and all parties that Michael G.

              3      Rhodes of the law firm of Cooley LLP hereby appears as Plaintiffs’ counsel of record in this action.

              4      His is admitted to practice in California and before this Court. His address, telephone, facsimile and

              5      email address are as follows:

              6                                 COOLEY LLP
                                                Michael G. Rhodes
              7                                 101 California Street, 5th Floor
                                                San Francisco, CA 94111-5800
              8                                 Telephone:     (415) 693-2000
                                                Facsimile:     (415) 693-2222
              9                                 E-mail:        rhodesmg@cooley.com
            10                   Please serve said counsel with all pleadings, notices and other filings in this action.
            11

            12       Dated: March 12, 2020                               COOLEY LLP
            13
            14                                                           /s/ Michael G. Rhodes
                                                                         Michael G. Rhodes (116127)
            15
                                                                         Attorneys for Plaintiffs
            16                                                           WHATSAPP INC. and FACEBOOK, INC.
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  COOLEY LLP
                                                                                    NOTICE OF APPEARANCE OF MICHAEL G. RHODES
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                           2                        CASE NO. 3:19-CV-07123-JSC
